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 5

 6   Attorney for Defendant
     VALERI MYSIN
 7

 8                               UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                    )     2:11-cr-00427 TLN
11                                                )
                                Plaintiff         )
12                                                )
                                                  )     STIPULATION AND [PROPOSED]
13                     vs.                        )     ORDER TO RELEASE PASSPORT
                                                  )     TO DEFENDANT
14                                                )
     VALERI MYSIN, et al.                         )
15                                                )
                             Defendant.           )
16   ________________________________             )

17

18   Plaintiff United States of America, by and through its counsel of record, and

19   defendant, by and through his counsel of record, hereby agree and stipulate

20   that defendant’s passport, which was given to the Court on January 17, 2012,

21   as a condition of bail, be released to defendant, Valeri Mysin.

22

23

24   IT IS SO STIPULATED.

25   Dated: February 10, 2015                           /s/ Michele Beckwith
                                                        MICHELE BECKWITH
26                                                      Assistant U.S. Attorney

27   Dated: February 10, 2015                           /s/ John R. Duree, Jr.
                                                        JOHN R. DUREE, JR.
28                                                      Attorney for Valeri Mysin



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 1

 2                                        ORDER

 3   IT IS SO FOUND AND ORDERED

 4   Dated:   February 20, 2015

 5                                          _____________________________________
 6
                                            CAROLYN K. DELANEY
                                            UNITED STATES MAGISTRATE JUDGE
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